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                    UNITED STATES DISTRICT COURT
                               FOR THE
                         DISTRICT OF VERMONT

JOHNNY HA, JENNY PHAM             )
a/k/a JENNY HA, and HELEN         )
LE,                               )
                                  )
           Plaintiffs,            )
                                  )
     v.                           )    Case No. 2:20-cv-155
                                  )
TINA CONN,                        )
                                  )
           Defendant.             )

                          OPINION AND ORDER

     Pending before the Court is Defendant Tina Conn’s motion to

set aside the default entered against her on January 19, 2023.

After the Court entered the default, Ms. Conn filed the pending

motion pro se and retained counsel.       Counsel submitted a

memorandum in support, and on May 1, 2023 the Court held a

hearing on the motion.

     For the reasons set forth below, the motion to set aside

the default is granted and the order granting the default is

vacated.   However, in light of Ms. Conn’s conduct in the course

of this litigation, the Court finds that a sanction is still

warranted.   The Court therefore orders Ms. Conn to pay

Plaintiffs’ attorney’s fees and costs related to their efforts

to secure the default.    Plaintiffs’ pending motion to compel

discovery responses is also granted, and Ms. Conn is ordered to

pay fees related to that motion as well.
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                                 Background

     The factual and procedural history of this case was largely

set forth in the Court’s Opinion and Order dated January 19,

2023.   ECF No. 66.     The Court assumes the parties’ familiarity

with that history.

     Briefly stated, Ms. Conn’s original attorney withdrew from

the case in September 2021.       From the date of her attorney’s

withdrawal through February 2023, Ms. Conn failed to comply with

multiple Court-ordered deadlines.          Having issued several

warnings to Ms. Conn about possible sanctions, the Court

ultimately granted Plaintiffs’ motion for default and set a date

for a hearing in which to establish damages and enter a default

judgment.

     Prior to the hearing date, Ms. Conn filed her pending

motion to set aside the default.          As noted above, her newly-

retained attorney filed a memorandum in support and the Court

held a hearing on the motion.        At the conclusion of the hearing,

the Court took the motion under advisement.

     Also pending before the Court is Plaintiffs’ motion to

compel discovery responses.       The motion was filed on September

23, 2022.    There is no indication on the record that Ms. Conn

has responded to those requests.          Plaintiffs seek various forms

of relief, including an order for production and for the payment

of attorney’s fees related to the motion to compel.

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                               Discussion

I.   Motion to Set Aside Default

     Under Federal Rule of Civil Procedure 55(c), a “court may

set aside an entry of default for good cause.”         The Second

Circuit has held that, in determining whether good cause has

been shown, a district court should weigh three “widely accepted

factors”: “(1) whether the default was willful; (2) whether

setting aside the default would prejudice the adversary; and (3)

whether a meritorious defense is presented.”        Enron Oil Corp. v.

Diakuhara, 10 F.3d 90, 96 (2d Cir. 1993).        “Other relevant

equitable factors may also be considered,” including “whether

the failure to follow a rule of procedure was a mistake made in

good faith and whether the entry of default would bring about a

harsh or unfair result.”     Id.   The decision whether to set aside

a default is “committed to the discretion of the district

court.”   Traguth v. Zuck, 710 F.2d 90, 94 (2d Cir. 1983)

(citation omitted).

     The Second Circuit “has expressed on numerous occasions its

preference that litigation disputes be resolved on the merits,

not by default,” Cody v. Mello, 59 F.3d 13, 15 (2d Cir. 1995),

and has “described default judgments as ‘the most severe

sanction which the court may apply,’” id. (quoting Sec. &

Exchange Comm’n v. Mgmnt. Dynamics, Inc., 515 F.2d 801, 814 (2d

Cir. 1975)).   Given those considerations, “in ruling on a motion

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to vacate a default judgment, all doubts must be resolved in

favor of the party seeking relief.”         New York v. Green, 420 F.3d

99, 104 (2d Cir. 2005); see also Powerserve Int’l, Inc. v. Lavi,

239 F.3d 508, 514 (2d Cir. 2001) (“Because there is a preference

for resolving disputes on the merits, doubts should be resolved

in favor of the defaulting party.” (internal quotation marks and

citation omitted)).

     A.      Willfulness

     In granting Plaintiffs’ motion for default, the Court

previously concluded, based upon the record before it, that Ms.

Conn’s failure to engage in this litigation was willful.             At

that time, the Court was aware of the possibility of a language

barrier and allegations of health issues, yet the evidence was

insufficient to excuse her repeated failures to respond either

to opposing counsel or the Court.         The hearing on the motion to

set aside shed additional light on those issues.

     With the assistance of counsel, Ms. Conn has now provided

the Court with a list of attorneys and legal organizations she

contacted in her effort to obtain representation.           That effort

was consistent with the Court’s repeated orders for her to

either appear with counsel or declare her pro se status.             Ms.

Conn has also provided additional medical information under

seal.     With respect to any language barrier, her attorney

represented that she uses an interpreter when seeking medical

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care, and a translator when speaking with him about this case.

Those facts suggest that, at least with respect to medical and

legal issues, Ms. Conn may indeed experience a language barrier.

     Other evidence before the Court renders willfulness a close

question.   Plaintiffs have offered video of Ms. Conn explaining

on the internet that opposing counsel continued to send her

letters, and expressing pleasure that such letters were costing

Plaintiffs money.    Video evidence also showed Ms. Conn singing

and enjoying herself while, during that same time period, health

issues allegedly prevented her from responding to opposing

counsel and the Court.    With respect to the question of a

language barrier, Ms. Conn revealed at the hearing that she was

married to a man for many years whose primary language was

English and who spoke very limited Vietnamese.         Evidence offered

to show that Ms. Conn understands English legal documents,

including allegedly translating her deceased husband’s will “on

the fly,” was not persuasive, as it was unclear whether those

documents had been explained or translated previously.

     Willfulness “refer[s] to conduct that is more than merely

negligent or careless.”     Bricklayers & Allied Craftworkers Loc.

2, Albany, N.Y. Pension Fund v. Moulton Masonry & Const., LLC,

779 F.3d 182, 186 (2d Cir. 2015) (quoting SEC v. McNulty, 137

F.3d 732, 738 (2d Cir. 1998)).      Instead, the conduct must be

“egregious and ... not satisfactorily explained.”         Id. (quoting

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McNulty, 137 F.3d at 738).     Here, there are plausible

explanations for Ms. Conn’s failures, including the language

barrier, health issues, and a general unfamiliarity with the

legal system.    See, e.g., Bartman v. L'Officiel USA Inc., 2021

WL 5303915, at *3 (S.D.N.Y. Nov. 15, 2021) (finding lack of

willfulness where party’s conduct “might have been the product

of confusion and neglect, particularly given their possible lack

of familiarity with U.S. legal procedure”).

     Nonetheless, the consistency and duration of Ms. Conn’s

failures to obey Court orders and otherwise engage in this

litigation is not entirely excusable.       The Court ordered Ms.

Conn on November 5, 2021 to appear with replacement counsel or

pro se within 30 days.    She did not comply.      On March 22, 2022,

the Court imposed sanctions against Ms. Conn if she continued to

ignore the November 5, 2021 order.       Ms. Conn still did not

comply.    On June 13, 2022, the Court addressed Ms. Conn in the

courtroom with the assistance of an interpreter.         On August 25,

2022, the Court issued a restraining order against Ms. Conn

after video evidence reportedly showed her making comments about

Plaintiffs dying in connection with this litigation.

     On December 7, 2022, the Court issued an order to show

cause again requiring Ms. Conn to, within 15 days, either appear

with counsel or inform the Court that she was representing

herself.    Ms. Conn failed to comply with that deadline as well.

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A video of Ms. Conn from later that month showed her referencing

correspondence from opposing counsel.       On January 24, 2023,

after the Court entered a default against her, Ms. Conn at last

submitted a substantive written response.        On February 21, 2023,

she filed her pro se motion to set aside the default.

     While the Court was previously inclined to enter a default

and default judgment, Ms. Conn’s most recent evidence of medical

issues and testimony about her language limitations complicate

the issue.    Video evidence of Ms. Conn speaking about the

litigation, and specifically her potential for an appeal,

suggests that she never intended to default.        Indeed, when faced

with the likelihood of default judgment, Ms. Conn filed her

pending motion and retained counsel.       On this factual record,

and absent evidence of a strategic decision to default, the

Court is reluctant to move toward default judgment.          See Am.

All. Ins. Co. v. Eagle Ins. Co., 92 F.3d 57, 60 (2d Cir. 1996)

(noting, in the Rule 60(b) context, that the Second Circuit has

“refused to vacate a judgment where the moving party had

apparently made a strategic decision to default”); see also Hong

v. Mommy’s Jamaican Mkt. Corp., No. 20-CV-9612 (LJL), 2021 WL

6064101, at *3 (S.D.N.Y. Dec. 22, 2021) (“Even if it could be

characterized as willful, it is so close to the line that, given

the other factors in the case, the judgment should be

vacated.”).

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     The Court finds that Ms. Conn’s conduct was more than

merely negligent, and that there was an element of defiance in

her actions.    The Court also finds that Ms. Conn bears

significant responsibility for delays in the case, and for the

Plaintiffs’ decision to seek sanctions in the form of a default

judgment.    Accordingly, as set forth in more detail below, the

Court imposes a lesser sanction in the form of attorney’s fees

and costs.    See Chambers v. NASCO, Inc., 501 U.S. 32, 45 (1991)

(noting that when a district court considers dismissal, “the

‘less severe sanction’ of an assessment of attorney’s fees is

undoubtedly within a court’s inherent power as well”).

     B. Prejudice

     Plaintiffs have suffered prejudice in the form of time,

money, and resources expended in trying to move this case

forward.    The Court can address those forms of prejudice without

entering a default.    See Select Harvest USA LLC v. Indian

Overseas Bank, No. 22-CV-3931 (LJL), 2023 WL 2664079, at *12

(S.D.N.Y. Mar. 28, 2023) (setting aside default and reimbursing

plaintiff for reasonable attorney’s fees incurred by moving for

entry of default and for default judgment).        Limited attorney’s

fees will therefore be awarded to Plaintiffs as set forth below.

     C. Meritorious Defense

     “Vacating the entry of default should not be a pointless

exercise; a court should only vacate an entry of default when

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the defaulting party has some prospect of avoiding a judgment -

that is, when it has a meritorious defense.”        Id. at *6 (citing

State St. Bank & Tr. Co. v. Inversiones Errazuriz Limitada, 374

F.3d 158, 174 (2d Cir. 2004) (holding that the absence of a

meritorious defense is sufficient to support denial of a motion

to vacate a default judgment)).      Counsel for Ms. Conn has

asserted, for the first time in the case, the defense of

“rhetorical hyperbole.”     Citing Virginia law (because Plaintiffs

are Virginia residents), Ms. Conn’s new defense asserts that

rhetorical hyperbole is not actionable defamation since “no

reasonable inference could be drawn that the individual

identified in the statements, as a matter of fact, engaged in

the conduct described.    The statements could not reasonably be

understood to convey a false representation of fact.”          Yeagle v.

Collegiate Times, 497 S.E.2d 136, 137 (Va. 1998).

     Plaintiffs argue that this defense, coming so late in the

case, is untimely and has been waived.       Countering that argument

is the appearance of new counsel on behalf of Ms. Conn, and his

ability to amend her pleadings under the liberal standard set

forth in Federal Rule of Civil Procedure 15.        The Court also

notes that, with new counsel in the case, a revised scheduling

order will likely issue.     The Court therefore finds that the

argument has not been waived.



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     As to the merits of the defense, the parties have not fully

briefed the issue under applicable state law.        Nor is the record

sufficiently developed for the Court to assess the facts in

support.   The Court recognizes the assertion of the “rhetorical

hyperbole” defense, its validity under Virginia law, its

plausible application here, and the likelihood that the

pleadings will be properly amended to assert such a defense.

The Court also acknowledges that Ms. Conn may have a complete

defense to claims of harassment or intimidation on the basis of

ethnicity or gender, particularly since she shares the same

ethnic background and gender as some of her alleged victims.

Accordingly, the Court will not uphold the default for lack of a

meritorious defense.

     D. Order on Motion for Default and Default Judgment

     The Court therefore vacates its prior order on the motion

for default and default judgment.       It nonetheless grants the

motion to the extent that a sanction is still appropriate under

the Court’s inherent authority.      Chambers, 501 U.S. at 45.

Plaintiffs shall submit to the Court within 21 days an

accounting of their legal fees and costs accrued since, and

including, their application for entry of default and default

judgment on December 23, 2022.     The Court will review that

accounting in camera and issue an appropriate order.         Once the

Court issues its order, Ms. Conn will have 30 days to pay the

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awarded fees and costs.     Failure to do so may result in

additional sanctions, including the entry of another default and

default judgment.

II.   Motion to Compel

      Also pending before the Court is Plaintiffs’ motion to

compel discovery responses, filed on September 23, 2022.           Ms.

Conn has not responded to the motion.

      Under Rule 37 of the Federal Rules of Civil Procedure, a

party may move to compel disclosure if the opposing party has

failed to respond to requests for information.         Here, Plaintiffs

reportedly served interrogatories, document requests, and

requests for admission on July 2, 2021.        When Plaintiffs filed

their motion to compel over a year later, Ms. Conn had not

provided any of the requested discovery.        Their motion asks the

Court to compel interrogatory and document request responses

within 30 days, to deem the matters set forth in the requests to

admit as admitted, and for payment of their attorney’s fees.

      Given the appearance of new counsel on Ms. Conn’s behalf,

and having now vacated its prior order, the Court will not deem

any matter admitted.     Instead, the motion to compel is granted

to the extent that Ms. Conn shall produce all requested

information, including responses to the requests to admit,

within 30 days of this Opinion and Order.        Appropriate

objections may be interposed.      The Court also orders Ms. Conn to

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pay Plaintiffs’ reasonable attorney’s fees and costs relative to

the motion to compel.    Those fees and costs shall be set forth

in an accounting for in camera review submitted to the Court

within 21 days, and the Court will issue an order for payment

thereafter.

                              Conclusion

      For the reasons set forth above, Plaintiffs’ motion to

compel (ECF No. 62) is granted and Defendant’s motion to set

aside (ECF No. 72) is granted.     The Court’s prior Opinion and

Order on Plaintiffs’ motion for default and default judgment

(ECF No. 66) is vacated, and Plaintiffs’ motion (ECF No. 65) is

again granted with the imposition of a lesser sanction.

Defendant’s motion to file attachments under seal (ECF No. 68)

is granted.

     Defendant is ordered to pay reasonable attorney’s fees and

costs relative to the motion to compel and Plaintiffs’ most

recent application for entry of default and default judgment.

Plaintiffs’ counsel shall submit to the Court an accounting of

such fees and costs within 21 days for the Court’s in camera

review.   The Court will issue a final order for payment after

conducting that review.    Defendant shall serve responses to

outstanding discovery requests within 30 days of this Opinion

and Order.



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    DATED at Burlington, in the District of Vermont, this 6th

day of June, 2023.



                                        /s/ William K. Sessions III
                                        William K. Sessions III
                                        U.S. District Court Judge




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